                    IN THE UNITED Document
      Case 6:06-cr-00026-JRH-CLR   STATES DISTRICT    COURT
                                           546 Filed 08/10/07 Page 1 of 1

                 FOR THE SOUTHERN DISTRICT OF GEORGIA

                             STATESBORO DIVISIO N             U .S . CFT- Cy COUR T

UNITED STATES OF AMERICA,
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               Plaintiff ,
                                                             CLE       __
v.                                                  CR606-26 SO U,!

CHARLES WILLIS, HARRY ALVIN,
MISTRELL ALVIN, BRENTIS
HENDRIX, SAMUEL BROWN, BETTY
BACON, O'TEJIA WILSON ,

               Defendants .

                                MINUTE ORDER



      The above cause having come before the Court on the 9th day

of August, 2007, and the following rulings having been made orally,

said rulings are hereby made the judgment of the Court :


      Defendant Charles Willis' motion to suppress is TAKEN UNDER
      ADVISEMENT .

      Defendant Brentis Hendrix's motion for bill of particulars is
      DENIED .

      Defendant Samuel Brown's motion to suppress is WITHDRAWN .

      Defendant Betty Bacon's oral motion for continuance is DENIED .

      Defendant Betty Bacon's motion for Jackson-Denno hearing is
      WITHDRAWN .

      Defendants' motions to sever are DENIED .

      Defendants' motions in limine to suppress are WITHDRAWN .


      All other pretrial motions are hereby deemed MOOT .



     SO ORDERED this /day of August, 2007 .




                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
